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       Exhibit A
             Case 1:19-cv-11861-MKV Document 170-1 Filed 03/06/23 Page 2 of 3




    From: "Daniel R. Benson" <DBenson@kasowitz.com>
    Date: May 16, 2022 at 6:49:19 PM EDT
    To: "Hewett, Martin A." <MHewett@gibsondunn.com>
    Subject: Re: Potential motion — Broidy v. Global Risk Advisors
﻿
    [WARNING: External Email]


Without commenting now on whether your email below is accurate (there are some incorrect details), I wanted to let you know that
we won’t be filing the letter until tomorrow. If you’re available, let’s speak tomorrow.




Daniel R. Benson
Kasowitz Benson Torres LLP
1633 Broadway
New York, New York 10019
(212) 506-1720 (office)
(917) 880-8690 (mobile)
(212) 506-1849 (fax)

DBenson@kasowitz.com

         On May 16, 2022, at 6:40 PM, Hewett, Martin A. <MHewett@gibsondunn.com> wrote:


         ﻿

         ALERT: THIS IS AN EXTERNAL EMAIL. DO NOT CLICK ON ANY LINK, ENTER A PASSWORD, OR OPEN AN ATTACHMENT UNLESS
         YOU KNOW THAT THE MESSAGE CAME FROM A SAFE EMAIL ADDRESS.

         Mr. Benson: I am writing to memorialize our conversations earlier this afternoon. During our first
         conversation at approximately 3:40 pm ET, you informed me that your firm had replaced the Steptoe firm
         as counsel for Mr. Broidy in Broidy v Global Risk Advisors, and referenced prior correspondence between
         Gibson Dunn and Steptoe regarding a “conflict issue” regarding Zainab Ahmad that Steptoe had raised a
         few years ago. You then said that you had “developed” evidence that shows that Gibson Dunn’s response
         to Steptoe “wasn’t true,” and said that you are planning to file a pre-motion letter today seeking to
         disqualify Gibson Dunn as counsel in this matter. I asked you to share the evidence to which you were
         referring. You said that you could not do so at this time. You later said that the evidence to which you
         were referring is a sworn declaration, but would not disclose the name of the declarant. You then asked
         that I provide Gibson Dunn's position on your planned motion to disqualify by 6 pm. I said I didn’t know
         how we could do that given your unwillingness to share the evidence to which you were referring or
         explain what in our prior correspondence with Steptoe you believed to be incorrect.
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When we spoke again approximately 20 minutes later (when I returned your call/email below), you
informed me that the declaration to which you referred on our first call was a declaration by Richard
Gates. I asked that you provide a copy of the declaration. You told me you would check on whether you
could do so.

Martin A. Hewett (he/him/his)
Partner & Deputy General Counsel

GIBSON DUNN

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+1 202.955.8207 (office) • +1 267.234.3266 (mobile)
mhewett@gibsondunn.com • www.gibsondunn.com


-----Original Message-----
From: Daniel R. Benson <DBenson@kasowitz.com>
Sent: Monday, May 16, 2022 4:05 PM
To: Hewett, Martin A. <MHewett@gibsondunn.com>
Subject: Potential motion — Broidy v. Global Risk Advisors

[WARNING: External Email]

I can provide you with additional information. Please call. Thanks.

Daniel R. Benson
Kasowitz Benson Torres LLP
1633 Broadway
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(917) 880-8690 (mobile)
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 ________________________________
